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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
              v.                                         )         2:08-CR-269-JCM (RJJ)
10                                                       )
      MARCO ANTONIO-SANCHEZ,                             )
11    aka Marco Sanchez-Urquidez,                        )
                                                         )
12                           Defendant.                  )

13                                   FINAL ORDER OF FORFEITURE

14            On February 10, 2010, the United States District Court for the District of Nevada entered a

15    Preliminary Order of Forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) and Title

16    28, United States Code, Section 2461(c), based upon the plea of guilty by defendant MARCO

17    ANTONIO-SANCHEZ, aka Marco Sanchez-Urquidez to criminal offense, forfeiting specific

18    property alleged in the Criminal Indictment and shown by the United States to have a requisite nexus

19    to the offense to which Defendant MARCO ANTONIO-SANCHEZ, aka Marco Sanchez-Urquidez

20    pled guilty.

21            This Court finds the United States of America published the notice of the forfeiture in

22    accordance with the law on May 11, 2010, May 18, 2010, and May 25, 2010, in the Las Vegas

23    Review-Journal/Sun, notifying all known third parties of their right to petition the Court.

24            This Court finds no petition was filed herein by or on behalf of any person or entity and the

25    time for filing such petitions and claims has expired.

26    ...
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 1            This Court finds no petitions are pending with regard to the assets named herein and the time

 2    for presenting such petitions has expired.

 3            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 4   title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 5   United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 6   32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

 7   2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to

 8   law:

 9                   a.     a Springfield Chamber, .45 caliber pistol, serial number N508436;
10                   b.     a Springfield Chamber magazine loaded with eight (8) rounds of
11                          ammunition; and
12                   c.     a Springfield Chamber magazine loaded with seven (7) rounds of
13                          ammunition.
14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited
15   funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well as
16   any income derived as a result of the United States of America’s management of any property forfeited
17   herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.
18            The Clerk is hereby directed to send copies of this Order to all counsel of record and three
19   certified copies to the United States Attorney’s Office.

20                       12th day ofday
              DATED this _________   July, 2010.
                                        of _______________, 2010.

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22                                                  UNITED STATES DISTRICT JUDGE

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 1                                        PROOF OF SERVICE

 2           I, Alexandra M. McWhorter, certify that the following individuals were served with copies

 3   of the Final Order of Forfeiture on July 7, 2010 by the below identified method of service:

 4           E-mail/ECF

 5           Mace J. Yampolsky
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             Counsel for David Sanchez-Urquidez
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17           Paul Riddle
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24

25                                                 /s/AlexandraMMcWhorter
                                                  ALEXANDRA M. MCWHORTER
26                                                Forfeiture Support Associate Paralegal




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